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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW JERSEY

                         FEE APPLICATION COVER SHEET FOR THE PERIOD
                             APRIL 14, 2023 THROUGH AUGUST 11, 2023


 Debtor:         LTL Management LLC                       Applicant:        Massey & Gail LLP

 Case No.:       23-12825(MBK)                            Client:           Official Committee of Talc
                                                                            Claimants
 Chapter:        11                                       Case Filed:       April 4, 2023



                                            SECTION 1
                                          FEE SUMMARY

 Interim Fee Application No.                 or X Final Fee Application

 Summary of Amounts Requested for the Period from April 4, 2023 through August 11, 2023
 (the “Final Statement Period”)

 Total Fees:                                                    $ 2,137,547.00
 Total Disbursements:                                           $     8,110.75
 Total Application:                                             $ 2,145,657.75
 Amounts Paid To Date:                                          $ 1,066,507.37
 Amount Due:                                                    $ 1,079,150.38


               NAME OF                 YEAR ADMITTED            HOURS             RATE             FEE
             PROFESSIONAL                 (Or Years Of
                & TITLE                Professional Service)

  1. Jonathan Massey (Partner)                1992                  933.6        $1,160.00    $1,082,976.00
  2. Jonathan Massey (travel)                 1992                  47.3          $580.00       $27,434.00
  3. Matthew Collette (Partner)               1991                   6.2         $1,000.00      $6,200.00
  4. Rachel Morse (Partner)                   2007                  225.3         $860.00      $193,758.00
  5. Jeremy Mallory (Counsel)                 2007                  19.0          $800.00       $15,200.00
  6. Bret Vallacher (Partner)                 2014                  417.8         $775.00      $323,795.00
  7. Bret Vallacher (travel)                  2014                   6.8          $387.50       $2,635.00
  8. Alethea Anne Swift (Associate)           2016                   5.3          $595.00       $3,153.50
  9. Kate Bjorklund (Associate)               2019                   3.7          $500.00       $1,850.00
  10. Schuyler Davis (Associate)              2019                  25.2          $500.00       $12,600.00
  11. Matthew Layden (Associate)              2019                  356.6         $500.00      $178,300.00



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  12. Christopher Walling (Associate)         2019                2      $500.00      $1,000.00
  13. Usama Ibrahim (Associate)               2021               487.1   $485.00     $236,243.50
  14. Usama Ibrahim (travel)                  2021                9.2    $242.50      $2,231.00
  15. Robert Aguirre (Paralegal)               29                151.3   $320.00     $48,416.00
  16. Larry Goldman (Case Assistant)            1                15.5    $90.00       $1,395.00
  17. Kathy Martinez (Case Assistant)           1                 4      $90.00       $360.00



             Fee Totals:                        $ 2,137,547.00
             Disbursements Totals:              $    8,110.75
             Total Fee Application              $ 2,145,657.75




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                                        SECTION II SUMMARY
                                           OF SERVICES

   SERVICES RENDERED                                                    HOURS         FEE
   a) Case Administration (B110)                                        362.7     $305,716.00


   b) Relief from Stay/Opposition to Debtor's PI Motion to Extend the   462.0     $424,380.50
      Stay (B140)

   c) Fee/Employment Applications (B160)                                 50.4      $37,492.50


   d) Avoidance Action Analysis (B180)                                    6.0       $4,800.00


   e) Other Contested Matters, Including Committee’s MTD and Other      1,734.6   $1,305,334.00
      Motions (B190)

   f) Non-working Travel (B195)                                          63.3      $32,300.00


   g) Claims Administration and Objections (B310)                         0.6       $696.00


   h) Plan and Disclosure Statement (B320)                               13.0      $14,566.00


   i) General Bankruptcy Advise/Opinions (B410)                           2.0      $1,000.00


   j) Trial and Hearing Attendance (B450)                                12.2      $5,917.00


   k) Appellate Briefs (L520)                                             9.1      $5,345.00


  SERVICES TOTAL                                                        2,715.9   $2,137,547.00




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                                               SECTION III
                                         SUMMARY OF DISBURSEMENTS

     DISBURSEMENTS                                                                           AMOUNT
                                                                                              $150.00
     a)   Filing Fees
          Payable to Clerk of Court.

     b)   Computer Assisted Legal Research
          Westlaw, Lexis and a description of manner calculated.

     c)   Pacer Fees
          Payable to the Pacer Service Center for search and/or print.

     d)   Fax
          Include per page fee charged.

     e)   Case Specific Telephone/Conference Call Charges
          Exclusive of overhead charges.

     f)   In-house Reproduction Services
          Exclusive of overhead charges.

     g)   Outside Reproduction Services
          Including scanning services.

     h)   Other Research
          Title searches, UCC searches, Asset searches, Accurint.

     i)   Court Reporting
          Transcripts.
                                                                                             $7,960.75
     j)   Travel
          Mileage, tolls, airfare, parking, hotel.

     k)   Courier & Express Carriers
          Overnight and personal delivery.

     l)   Postage

     m) Other (specify)

     DISBURSEMENTS TOTAL:                                                                    $8,110.75



  I certify under penalty of perjury that the above is true.




   Date: September 11, 2023                                         /s/ Jonathan S. Massey
                                                                    JONATHAN S. MASSEY




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